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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY
                                       AT TRENTON




                                                        )
 BRYAN MESSENGER,                                        )
                                                         )
          Plaintiff,                                     )      Case No.: 3:17-cv-03755
                                                         )
 v.                                                      )
                                                         )
 NATIONAL BOARD OF MEDICAL                               )
 EXAMINERS                                               )
      Defendant.                                         )
                                                         )
                                                         )

_________________________________________________________________________________
                CERTIFIED STATEMENT OF PRO HAC VICE APPLICANT
                            MARTHA M. LAFFERTY, ESQ.
      ________________________________________________________________________

Comes now, Martha M. Lafferty, Esq. and states the following:

        1.       I am a member in good standing of the bars of the State of Tennessee and the U.S.

District Court for the Middle District of Tennessee. See, attached Certificates of Good Standing.

         2.      I am also a member in good standing of the following bars:

              a. the U.S. District Court for the Eastern District of Tennessee. I was admitted in

                 2012. The roll of bar members is maintained at Clerk of Court, 800 Market

                 Street, Knoxville, TN 37902.

              b. the U.S. District Court for the of Colorado. I was admitted in 2016. The roll of

                 bar members is maintained at Clerk’s Office, Alfred A. Arraj United States

                 Courthouse, Room A105, 901 19th Street, Denver, CO 80294.
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          c. The Sixth Circuit Court of Appeals. I was admitted in 2003. The roll of bar

              members is maintained at Clerk of Court, Potter Stewart U.S. Courthouse, 100

              East Fifth Street, Cincinnati, Ohio 45202.

          d. The United States Supreme Court. I was admitted in 2004. Records are

              maintained at Clerk’s Office, Supreme Court of the United States, 1 First Street,

              NE, Washington, DC 20543

   3. No disciplinary proceedings are pending against me in any jurisdiction and no discipline

      has previously been imposed on me in any jurisdiction.

Dated: May 30, 2017                                Respectfully submitted,



                                                   /s Martha M. Lafferty
                                                   Martha M. Lafferty
                                                   Stein & Vargas, LLP
                                                   840 First Street NE, Third Floor
                                                   Washington, DC 20002
                                                   Phone (202) 248-5092
                                                   Facsimile (888) 778-4620
                                                   martie.lafferty@steinvargas.com
